                                                          SN Servicing Corporation                    Final
                                                             323 FIFTH STREET
                                                            EUREKA, CA 95501
                                                         For Inquiries: (800) 603-0836
                                             Main Office- NMLS ID #5985, Branch Office- NMLS ID #9785
     Analysis Date: April 29, 2019

     ADAM RAQUET                                                                                                        Loan:        0000290471
     DAWN RAQUET
     10455 HUNTERS CROSSING BLVD                                                             Property Address:
     INDIANAPOLIS IN 46239                                                                   10455 HUNTERS XING BOULEVARD
                                                                                             INDIANAPOLIS, IN 46239



                                                Annual Escrow Account Disclosure Statement
                                                             Account History

     This is a statement of actual activity in your escrow account from Apr 2019 to May 2019. Last year's anticipated activity
     (payments to and from your escrow account) is next to the actual activity.

Payment Information                  Current:      Effective Jun 01, 2019:                  Escrow Balance Calculation
 Principal & Interest Pmt:                 981.89                  981.89                   Due Date:                                      May 01, 2019
 Escrow Payment:                           414.49                  407.63                   Escrow Balance:                                     895.51
 Other Funds Payment:                         0.00                    0.00                  Anticipated Pmts to Escrow:                         414.49
 Assistance Payment (-):                      0.00                    0.00                  Anticipated Pmts from Escrow (-):                   116.07
 Reserve Acct Payment:                        0.00                    0.00                  Anticipated Escrow Balance:                        $1,193.93
 Total Payment:                            $1,396.38                  $1,389.52



                     Payments to Escrow            Payments From Escrow                                        Escrow Balance
       Date          Anticipated   Actual          Anticipated     Actual             Description              Required       Actual
                                                                              Starting Balance                       0.00       1,727.29
     Apr 2019                          414.49                               *                                        0.00       2,141.78
     Apr 2019                                                      1,130.20 * County Tax                             0.00       1,011.58
     Apr 2019                                                        116.07 * Mortgage Insurance                     0.00         895.51
                                                                              Anticipated Transactions               0.00         895.51
     May 2019                         414.49                         116.07 Mortgage Insurance                                  1,193.93
                          $0.00      $828.98            $0.00     $1,362.34

     An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
     our toll-free number.


     Last year, we anticipated that payments from your account would be made during this period equaling $0.00. Under
     Federal law, your lowest monthly balance should not have exceeded $0.00 or 1/6 of the anticipated payment from the
     account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
     silent on this issue.




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 Analysis Date: April 29, 2019

 ADAM RAQUET                                                                                                     Loan:        0000290471

                                           Annual Escrow Account Disclosure Statement
                                                  Projections for Coming Year

This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
from your account.


   Date              Anticipated Payments                                                                  Escrow Balance
                     To Escrow From Escrow               Description                                 Anticipated      Required
                                                         Starting Balance                             1,193.93        1,198.94
Jun 2019                407.21         116.07            Mortgage Insurance                           1,485.07        1,490.08
Jul 2019                407.21         116.07            Mortgage Insurance                           1,776.21        1,781.22
Aug 2019                407.21         116.07            Mortgage Insurance                           2,067.35        2,072.36
Sep 2019                407.21       1,318.01            Homeowners Policy                            1,156.55        1,161.56
Sep 2019                               116.07            Mortgage Insurance                           1,040.48        1,045.49
Oct 2019                407.21         116.07            Mortgage Insurance                           1,331.62        1,336.63
Nov 2019                407.21       1,045.49            County Tax                                     693.34          698.35
Nov 2019                               116.07            Mortgage Insurance                             577.27          582.28
Dec 2019                407.21         116.07            Mortgage Insurance                             868.41          873.42
Jan 2020                407.21         116.07            Mortgage Insurance                           1,159.55        1,164.56
Feb 2020                407.21         116.07            Mortgage Insurance                           1,450.69        1,455.70
Mar 2020                407.21         116.07            Mortgage Insurance                           1,741.83        1,746.84
Apr 2020                407.21         116.07            Mortgage Insurance                           2,032.97        2,037.98
May 2020                407.21         116.07            Mortgage Insurance                           2,324.11        2,329.12
May 2020                             1,130.20            County Tax                                   1,193.91        1,198.92
                    $4,886.52       $4,886.54

(Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
Your escrow balance contains a cushion of $582.28. A cushion is an additional amount of funds held in your escrow
balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
Federal law, your lowest monthly balance should not exceed $814.42 or 1/6 of the anticipated payment from the account,
unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
this issue.

Your ending balance from the last month of the account history (escrow balance anticipated) is $1,193.93. Your starting
balance (escrow balance required) according to this analysis should be $1,198.94. This means you have a shortage of $5.01.
This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 12
months.

We anticipate the total of your coming year bills to be $4,886.54. We divide that amount by the number of payments expected
during the coming year to obtain your escrow payment.




                                                                                                                                    Page 2
                                                                 Paying the shortage: If your shortage is paid in full, your new
    New Escrow Payment Calculation
                                                                 monthly payment will be $1,389.10 (calculated by subtracting the
    Unadjusted Escrow Payment                      407.21
                                                                 Shortage Amount to the left and rounding, if applicable). Paying the
    Surplus Amount:                                  0.00
                                                                 shortage does not guarantee that your payment will remain the same, as
    Shortage Amount:                                 0.42
                                                                 your tax or insurance bills may have changed. If you would like to pay
    Rounding Adjustment Amount:                      0.00
                                                                 the shortage now, please pay the entire amount of the shortage before
    Escrow Payment:                               $407.63
                                                                 the effective date of your new payment. To ensure that the funds are
                                                                 posted to your account correctly, please notify your asset manager that
                                                                 you are paying the shortage.

   NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
   premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
   the principal balance of your loan is 80 percent or less of the current fair market appraised value of your home, and you have a good
   payment history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth
   Street, Eureka, Ca 95501 or 800-603-0836.

* Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
updated




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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 In Re:                                            Case No. 14-11120-JMC-13

 Adam Joseph Raquet
                                                   Chapter 13
 Dawn Noel Raquet

 Debtors.                                          Judge James M. Carr

                                  CERTIFICATE OF SERVICE

I certify that on May 7, 2019, a copy of the foregoing Notice of Mortgage Payment Change was
filed electronically. Notice of this filing will be sent to the following party/parties through the
Court’s ECF System. Party/parties may access this filing through the Court’s system:

          Jess M. Smith, III, Debtors’ Counsel
          bk@tomscottlaw.com

          Ann M. DeLaney, Trustee
          ecfdelaney@trustee13.com

          Office of the U.S. Trustee
          ustpregion10.in.ecf@usdoj.gov

I further certify that on May 7, 2019, a copy of the foregoing Notice of Mortgage Payment
Change was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

          Adam Joseph Raquet, Debtor
          10455 Hunters Crossing Blvd.
          Indianapolis, IN 46239
Dawn Noel Raquet, Debtor
10455 Hunters Crossing Blvd.
Indianapolis, IN 46239
                               Respectfully Submitted,

                               /s/ Molly Slutsky Simons
                               Molly Slutsky Simons (OH 0083702)
                               Sottile & Barile, Attorneys at Law
                               P.O. Box 476
                               Loveland, OH 45140
                               Phone: 513.444.4100
                               Email: bankruptcy@sottileandbarile.com
                               Attorney for Creditor
